                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                             Criminal Action No. 06-00408-20,24/25,28-GAF
v.

DEMPSEY JOHNSON,
RAPHAEL DONNELL,
BOUN RATTANAVONG,
DUNG A. NGUYEN,

                       Defendant.


                     MEMORANDUM OF MATTERS DISCUSSED AND
                      ACTION TAKEN AT PRETRIAL CONFERENCE

PENDING CHARGES: On November 28, 2006, the Grand Jury returned a twenty count
Indictment against defendants Derrick T. Seals, Tremayne Tyler, Andre L. Brice, Jason D. Cross,
Brian C. Fennix, Arron Hall, Maurice L. Davis, Wayne A. Williams, Adrian Wright, Jeffery E.
Morgan, Nicole Wyatt, Jermaine Talley, Jon C. Crawford, Adrian Washington, Damon S. Bryant,
Simona S. Bryant, Gerald E. Dunn, and Delesha N. Hughes. The Indictment charged the defendants
with conspiracy to distribute, with distribution and with attempting to possess with intent to
distribute cocaine base “crack,” MDMA, cocaine and PCP. The Indictment also seeks forfeiture of
property.

       On January 24, 2007, the Grand Jury returned a twenty-two count Superseding Indictment,
adding defendants Dimitri Jones, Dempsey Johnson, and Quebe Seals. In addition, two counts of
possession of a controlled substance were added.

       On May 9, 2007, the Grand Jury returned a twenty-two count Second Superseding
Indictment, adding defendants Vu Nguyen Huynh and Shannon Dewayne Luckey.

        On July 17, 2007, the Grand Jury returned a twenty-two count Third Superseding Indictment,
adding defendants Raphael L. Donnell, Boun Rattanavong, James Petersen, Southanome
Frichitavong, and Dung A. Nguyen.

       On July 19, 2007, the Grand Jury returned a twenty-two count Fourth Superseding
Indictment, including defendant Southanome Frichitavong in Count One.

     All of the defendants who have appeared have entered guilty pleas with the exception of
Dempsey Johnson, Raphael Donnell, Boun Rattanavong, and Dung Nguyen.



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The following matters were discussed and action taken during the pretrial conference:

TRIAL COUNSEL:
     Government: David Detar Newbert
     Case Agents: Special Agent Mike Oyler of the FBI; Detective Dan Kirby of the Jackson
                  County Drug Task Force; Special Agent Brian Cyprian of the FBI
     Defense:     Willis Toney for defendant Johnson
                  Willie Epps, Jr., for defendant Donnell
                  Chase Higinbotham for defendant Rattanavong
                  Darren Fulcher for defendant Nguyen

OUTSTANDING MOTIONS:
(1) Government’s SEALED Motion to Unseal Plea Agreement Filed Under Seal, doc #583;
(2) Donnell’s Response to Notice of Government’s Intent to Offer Evidence of Prior Bad Acts, doc.
   #600;
(3) Donnell’s Motion in Limine to Prohibit the Government from Eliciting Testimony From Any
Witness That Any Agreement They Signed Requires Truthful Testimony, doc #601;
(4) Donnell ‘s Motion in Limine to Preclude Evidence relating to his Alleged Involvement in a
Shooting that is Totally Unrelated to the Charged Conspiracy, doc. # 623;
(5) Rattanavong’s Motion in Limine, doc. # 622;

TRIAL WITNESSES:
     Government: 35 with stipulations; up to 40 without stipulations
     Defendant Johnson: the defendant is the only possible witness;
     Defendant Donnell: 4 witnesses, the defendant may testify
     Defendant Rattanavong: 2 witnesses, the defendant may testify
     Defendant Nguyen: 4-5 witnesses, the defendant may testify

TRIAL EXHIBITS
     Government: 250 exhibits in total
     Defendant Johnson: 0 exhibits
     Defendant Donnell: 15 exhibits
     Defendant Rattanavong: 6 exhibits
     Defendant Nguyen: no more than 10 exhibits

DEFENSES: General Denial

POSSIBLE DISPOSITION:
     ( X ) Definitely for trial;   ( ) Possibly for trial;   ( ) Likely a plea will be worked out

TRIAL TIME: 6 days
     Government’s case including jury selection: 5 days
     Defense case: 1 day


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STIPULATIONS: The government is proposing that the parties stipulate to each of the four
chemist’s reports as well as to chain of custody.

UNUSUAL QUESTIONS OF LAW: None

FILING DEADLINES:

       Witness and Exhibit List
       Government: Friday before the pretrial conference
       Defense: Friday before the pretrial conference
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: Noon, Wednesday February 6, 2008
       Please Note: Jury instructions must comply with Local Rule 51.1

       Motion in Limine: Motions to be filed no later than January 28, 2008; Suggestions in
       opposition to be filed no later than February 4, 2008.

TRIAL SETTING: Criminal jury trial docket commencing February 11, 2008.
     Please note: Because counsel do not believe the case can be completed in one week, they
     are requesting the first week of the docket.

IT IS SO ORDERED.


                                            _________/s/_____________________
                                                  SARAH W. HAYS
                                                 United States Magistrate Judge




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